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                                                          April 08, 2022
                                                      CLERK, U.S. DISTRICT COURT
                                                      WESTERN DISTRICT OF TEXAS

                                                             Jennifer Clark
                                                   BY: ________________________________
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